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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                               Case No. 16-20549-CR-SCOLA/ OTAZO-REYES


   UNITED STATES OF AMERICA,

      vs.

   PHILIP ESFORMES, et al.

            Defendants.

                                                         /

   ORDER GRANTING UNOPPOSED MOTION FOR: (1) APPROVAL OF THE SALE OF
    REAL PROPERTIES ON WHICH SOUTH DADE NURSING AND REHAB CENTER,
    GOLDEN GLADES NURSING & REHAB CENTER, AND NORTH DADE NURSING &
   REHAB CENTER OPERATE, WHICH PROPERTY OWNERSHIP IS HELD, IN PART,
       BY DEFENDANT PHILIP ESFORMES, TO SENTOSACARE, LLC; AND (2)
      MODIFICATION OF THIS COURT’S PRIOR ORDER (DE 985), APPROVING
     TERMINATION OF THE LEASE AND LICENSE RIGHTS OF THE CURRENT
     TENANT/OPERATORS IN CONJUUNCTION WITH SUCH APPROVED SALE


            THIS CAUSE is before the Court on the Unopposed Motion of Business Entities 17475

   LLC (“17475”), 220 Sierra LLC (“220 Sierra”) and 1255 LLC, each Delaware limited liability

   companies (“1255”, and together with 17475 and 220 Sierra, collectively, the “Propcos”), for (1) (i)

   approval of the sale of real property located at 17475 Dixie Highway, Miami, Florida 33157 owned

   by 17575, which property is leased by long term skilled nursing facility operator South Dade

   Nursing and Rehab Center to South Dade Propco, LLC; (ii) approval of the sale of real property

   located at 220 Sierra Drive, Miami, Florida 33179, owned by 220 Sierra, which property is leased

   by long term skilled nursing facility operator Golden Glades Nursing & Rehab Center to Golden

   Glades Propco, LLC; (iii) approval of the sale of real property located at 1255 NE 135th Street, North

   Miami, Florida 33161, owned by 1255, which property is leased by long term skilled nursing


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   facility operator North Dade Nursing & Rehab Center to North Dade SNF Real Estate Company, LLC

   (the real properties identified in (i), (ii) and (iii) collectively referred to as the “Properties” to the

   aforesaid purchaser entities, affiliates of SentosaCare LLC (“SentosaCare”); and the respective

   nursing facilities located on each of the Properties collectively referred to as a “Facility” and jointly, the

   “Facilities”), the member equity ownership of which Properties is held, in part, directly or

   indirectly by Defendant Philip Esformes; and in conjunction therewith, (2) modification of this

   Court’s prior Order (DE 985), approving the termination of the lease and license rights of the

   current tenant/operators of the Facilities and to permit a change of ownership and transfer of the

   licenses issued by the Florida Agency for Healthcare Administration (“AHCA”) to operate the

   Facilities (the “Licenses”), if approved by the relevant regulatory authorities, to South Dade Opco,

   LLC, Golden Glades Opco, LLC and North Dade SNF Operating Company, LLC, respectively,

   the SentosaCare affiliated proposed new operators (the “Motion”) (ECF No. 1066).

   The Court has carefully reviewed the Motion and is otherwise fully informed. Accordingly, it is

           ORDERED AND ADJUDGED as follows:

           1.      The approval for sale by the Propcos of the Properties to SentosaCare affiliates

   South Dade Propco LLC, Golden Glades Propco, LLC and North Dade SNF Real Estate Company

   LLC, is hereby GRANTED.

           2.      The approval for termination of lease rights of Tenant/Operator Takifhu Associates

   LLC for South Dade Nursing & Rehab Center, whose Equity Ownership is held, in part by

   Defendant Philip Esformes, is hereby GRANTED. Takifhu Associates LLC is hereby authorized

   to execute all necessary contractual documents to effectuate both: (i) termination of the applicable

   lease and surrender the Facility to landlord 17475; and (ii) transfer Facility operations to new


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   operator South Dade Opco, LLC.

          3.        The approval for termination of lease rights of Tenant/Operator Kabirhu

   Associates LLC for Golden Glades Nursing & Rehab Center, is hereby GRANTED. Kabirhu

   Associates LLC is hereby authorized to execute all necessary contractual documents to effectuate

   both: (i) termination of the applicable lease and surrender of the Facility to landlord 220 Sierra;

   and (ii) effectuate transfer of Facility operations to Golden Glades Opco, LLC.

          4.      The approval for termination of lease rights of Tenant/Operator Almovea

   Associates LLC for North Dade Nursing & Rehab Center, whose Equity Ownership is held, in part

   by Defendant Philip Esformes, is hereby GRANTED. Almovea Associates LLC is hereby

   authorized to execute all necessary contractual documents to effectuate both: (i) termination of the

   applicable lease and surrender of the Facility to landlord 1255; and (ii) transfer Facility operations

   to North Dade SNF Operating Company, LLC.

          5.      At Closing of the Properties, the designated settlement and closing agent for

   SentosaCare (“Closing Agent”) is directed to deliver to the United States of America (the

   “Government”) via email to Alison.Lehr@usdoj.gov, a copy of the final Closing Statement

   evidencing gross and net proceeds to be received by the Propcos at Closing. The Closing

   Statement shall delineate the amount of the funds payable to Propco minority members Ayintova

   LLC or Pipesmokers Associates LLC (the “Minority Entities”). The designated Closing Agent

   shall hold such funds payable to the Minority Entities and all individual owners of the Minority

   Entities in escrow until further Order of this Court directing distribution. Any and all funds

   ultimately paid to Defendant Esformes (individually or through his sub-member company or trust)

   for his allocated ownership interest (the “Esformes Interest”) in Ayintova LLC or Pipe Smokers


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   Associates LLC, shall be delivered by Closing Agent via bank check made payable to the United

   States Marshals office and hand delivered together with a fully executed Closing Statement to the

   United States Attorney’s office 99 N.E 4th Street, Suite 700, Miami, FL 33132 Attn: Alison Lehr,

   Esq., which shall remain in escrow until further Order from this Court authorizing disbursement.

          IT IS FURTHER ORDERED AND ADJUDGED, to the extent that, if approved by the

   relevant regulatory authorities, a transfer and change of ownership of the Licenses to operate the

   skilled nursing facilities referenced herein known as South Dade Nursing & Rehab Center, Golden

   Glades Nursing & Rehab Center and North Dade Nursing & Rehab Center to South Dade Opco,

   LLC, Golden Glades Opco, LLC and North Dade SNF Operating Company, LLC, the entities

   approved by this Order, will not violate this Court’s Temporary Restraining Order (ECF No. 877)

   as subsequently modified.

          DONE and ORDERED in Chambers at Miami, Florida, on February 4, 2019.


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                                                ROBERT N. SCOLA, JR.
                                                UNITED STATES DISTRICT JUDGE




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